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                        UNITED STATES COURT OF APPEALS                       FILED
                              FOR THE NINTH CIRCUIT                           NOV 27 2018
                                                                          MOLLY C. DWYER, CLERK
                                                                           U.S. COURT OF APPEALS
  MS. L. and MS. C.,                               No.    18-56151

                    Petitioners-Appellees,         D.C. No.
                                                   3:18-cv-00428-DMS-MDD
    v.                                             Southern District of California,
                                                   San Diego
  U.S. IMMIGRATION AND CUSTOMS
  ENFORCEMENT; et al.,                             ORDER

                    Respondents-Appellants.

         Appellants’ unopposed motion (Docket Entry No. 8) to stay appellate

  proceedings is granted.

         Appellate proceedings are stayed until January 8, 2019.

         On or before January 8, 2019, appellants may file a status report and motion

  for further relief.

         Failure to file a status report and motion will terminate the stay of appellate

  proceedings and the briefing schedule will be reset.


                                                    FOR THE COURT:

                                                    MOLLY C. DWYER
                                                    CLERK OF COURT

                                                    By: Kara Slack
                                                    Deputy Clerk
                                                    Ninth Circuit Rule 27-7
